                         UNITED STATES DISTRICT COURT FOR THE
                             MIDDLE DISTRICT OF ALABAMA
IN RE:
ALLEGRO LAW, LLC,                                                     Case No. 10-30631-WRS
                                                                      Chapter 7
         Debtor.
CARLY WILKINS, as Trustee for
Debtors Allegro Law, LLC and
Allegro Financial Services, LLC
         Plaintiff,
vs.                                                                   Adv. No. 11-03007
TIMOTHY MCCALLAN, et al.
         Defendants.

                       MOTION OF IMMEDIATE RELEASE OF INMATE
                                 UNDER 28 U.S.C. § 1826

         COMES NOW the Defendant Tim McCallan (“McCallan”), by and through the

undersigned Counsel and request that this Court Quash the Contempt Order and Release him

from Incarceration Immediately due to the fact the McCallan’s incarceration has exceeded the

18-month limit in 28 U.S.C.A. § 1826. In support thereof, McCallan sets forth and states as

follows:


      1. McCallan was incarcerated on October 23, 2017 for failure to provide information to the

         court and is therefore a recalcitrant witness.

      2. The United States Codes limits the confinement of recalcitrant witnesses to eighteen

         months of confinement.

            Recalcitrant witnesses.

                 (a) Whenever a witness in any proceeding before or ancillary to any court or grand
         jury of the United States refuses without just cause shown to comply with an order of the
         court to testify or provide other information, including any book, paper, document, record,
         recording or other material, the court, upon such refusal, or when such refusal is duly
         brought to its attention, may summarily order his confinement at a suitable place until such




 Case 11-03007         Doc 810      Filed 07/31/19 Entered 07/31/19 16:40:21           Desc Main
                                     Document     Page 1 of 3
       time as the witness is willing to give such testimony or provide such information. No period
       of such confinement shall exceed the life of--
                       (1) the court proceeding, or
                     (2) the term of the grand jury, including extensions,
       before which such refusal to comply with the court order occurred, but in no event shall
       such confinement exceed eighteen months. (Emphasis Added)
       28 U.S.C.A. § 1826


   3. Use of the word “any” in subsec. (a) of 28 U.S.C.A. § 1826 applies to bankruptcy

       proceedings. In re Martin-Trigona, C.A.2 (Conn.) 1984, 732 F.2d 170, certiorari

       denied 105 S.Ct. 191, 469 U.S. 859, 83 L.Ed.2d 124.

   4. Eighteen months from October 2017 is April 2019. McCallan was not released.

       WHEREFORE, McCallan’s confinement has exceeded the statutory maximum amount

of time. McCallan must therefore be immediately released from incarceration.



                                                     Respectfully submitted by,

                                                     _/s/Michael A. Fritz, Sr. _

                                                     Michael A. Fritz, Sr.

OF COUNSEL:
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                                CERTIFICATE OF SERVICE

       I hereby certify that on this the 31th day of June, 2019, I served the foregoing by email
and/or US Mail, postage pre-paid to the following:




 Case 11-03007       Doc 810     Filed 07/31/19 Entered 07/31/19 16:40:21            Desc Main
                                  Document     Page 2 of 3
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                                      ___________/s/Michael A. Fritz, Sr.______
                                                    Michael A. Fritz, Sr.




 Case 11-03007      Doc 810        Filed 07/31/19 Entered 07/31/19 16:40:21       Desc Main
                                    Document     Page 3 of 3
